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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

   PENNY JO BARNETT, individually, and as )
   personal representative of the estate of
                                          )
   Edward Barnett,                        )
                                          )
                     Plaintiff,           )
                                          )                  No. 2:20-cv-02517-DCN
               vs.                        )
                                          )                          ORDER
   UNITED STATES OF AMERICA,              )
                                          )
                     Defendant.           )
   _______________________________________)

          The following matter is before the court on plaintiff Penny Jo Barnett’s

   (“Barnett”) motion to exclude, ECF No. 61. For the reasons set forth below, the court

   denies the motion.

                                      I. BACKGROUND

           This admiralty and maritime action arises out of a vessel’s allision with a

   contraction dike in the Cooper River in North Charleston, SC on July 6, 2018. The

   allision resulted in the death of the operator of the vessel, Edward Barnett (the

   “decedent”). The dike and surrounding navigation lights are owned and operated by

   defendant United States of America (the “government.”). According to the operative

   amended complaint, the navigation lights on the dike were not functioning properly at the

   time of the allision such that the dike was not visible to approaching boaters. See

   generally ECF No. 28, Amend. Compl. On July 2, 2020, Barnett filed the instant action

   against the government in her individual capacity and as personal representative of the

   estate of the decedent. Barnett alleges a wrongful death cause of action, pursuant to S.C.




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   Code Ann. § 15-51-10, and a survival cause of action for the decedent’s pain and

   suffering prior to his death, pursuant to S.C. Code Ann. § 15-5-90.

          On August 19, 2021, Barnett filed a motion to exclude the testimony of an expert

   witness for the government. ECF No. 61. On September 1, 2021, the government

   responded in opposition. ECF No. 63. Barnett did not file a reply, and the time to do so

   has now expired. As such, this motion is now ripe for review.

                                        II. STANDARD

          Federal Rule of Evidence 702 governs the admissibility of expert testimony and

   provides:

          A witness who is qualified as an expert by knowledge, skill, experience,
          training, or education may testify in the form of an opinion or otherwise if:

          (a) the expert’s scientific, technical, or other specialized knowledge will
          help the trier of fact to understand the evidence or to determine a fact in
          issue;
          (b) the testimony is based on sufficient facts or data;
          (c) the testimony is the product of reliable principles and methods; and
          (d) the expert has reliably applied the principles and methods to the facts of
          the case.

   Under Rule 702, courts must engage in a two-part analysis. First, the court must

   determine whether a witness is qualified to testify as an expert on scientific, technical, or

   other specialized knowledge based on his or her knowledge, skill, experience, training, or

   education. Then, the court must consider whether the testimony of the qualified expert is

   reliable and relevant to the facts of the case under Daubert v. Merrell Dow

   Pharmaceuticals, Inc., 509 U.S. 579 (1993). The proponent of expert testimony must

   demonstrate by a preponderance of the evidence that the testimony satisfies these

   requirements. Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001).

   District courts serve as gatekeepers for expert testimony by making pretrial

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   determinations on whether the proponent has satisfied its burden. Nevertheless, “the trial

   court’s role as a gatekeeper is not intended to serve as a replacement for the adversary

   system, and consequently, the rejection of expert testimony is the exception rather than

   the rule.” United States v. Stanley, 533 F. App’x 325, 327 (4th Cir. 2013) (quoting Fed.

   R. Evid. 702 advisory committee’s note).

                                        III. DISCUSSION

             Barnett asks this court to exclude the expert testimony of Captain Brian Hall

   (“Hall”). The government retained Hall to offer his professional opinions regarding: (1)

   the navigational aids relative to the contraction dike on the western edge of the Cooper

   River; (2) the navigational aids at the entrance of the Daniel Island Bend in the Cooper

   River just south of the contraction dike; and (3) the cause of the allision at issue with the

   contraction dike. See ECF No. 63-1. Barnett challenges the admissibility of this

   testimony on two grounds. First, Barnett argues that Hall is not qualified to render these

   opinions. Second, Barnett argues that “Hall’s opinions are based on insufficient

   knowledge of the facts of the allision.” ECF No. 61 at 7. The court disagrees on both

   fronts.

             A. Qualifications

             The court finds that Hall is qualified to give an expert opinion regarding the

   navigation aids at issue and the cause of the allision. Barnett argues that Hall is

   unqualified because he is not an expert in marine investigations yet is attempting to

   render expert opinions in that field. Contrary to Barnett’s contention, the mere fact that

   Hall is not a “marine investigator” or “expert in marine investigations,” ECF No. 61 n.10,

   does not disqualify Hall as an expert in this action. A witness’s qualifications to render



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   an expert opinion are “liberally judged by Rule 702. Inasmuch as the rule uses the

   disjunctive, a person may qualify to render expert testimony in any one of the five ways

   listed: knowledge, skill, experience, training, or education.” Kopf v. Skyrm, 993 F.2d

   374, 377 (4th Cir. 1993). Where the proposed expert’s qualifications are challenged, “the

   test for exclusion is a strict one, and the purported expert must have neither satisfactory

   knowledge, skill, experience, training nor education on the issue for which the opinion is

   proffered” to be properly excluded. Id. “One knowledgeable about a particular subject

   need not be precisely informed about all details of the issues raised in order to offer an

   opinion.” Id. (citing Thomas J. Kline, Inc. v. Lorillard, Inc., 878 F.2d 791, 799 (4th Cir.

   1989), cert. denied, 493 U.S. 1073 (1990)); see also Holbrook v. Lykes Bros. S.S. Co., 80

   F.3d 777, 782 (3d Cir. 1996) (“[I]t is an abuse of discretion to exclude testimony simply

   because the trial court does not deem the proposed expert to be the best qualified or

   because the proposed expert does not have the specialization that the court considers

   most appropriate.”).

          Hall is qualified by his knowledge, skill, experience, training, and education to

   offer expert testimony regarding the navigation aids at issue and the cause of the allision.

   See ECF No. 63-2. Hall is a 1984 graduate of the United States Merchant Marine

   Academy. He earned a Master of Science from the State University of New York –

   Maritime College in 1997. He was a “Surface Warfare Officer” in the United States

   Navy from 1984 to 1987. Id. at 2. He was part of the Navy’s “Military Sealift Command

   Atlantic” from 1989 to 1997 during which time he held positions of “Licensed Deck

   Officer” and “Marine Safety Director.” Id. Hall holds, among other licenses and

   certifications, a United States Coast Guard “Merchant Marine Officer” license and



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   “Master of Steam and Motor Vessels Any Gross Tons Upon Oceans” license. Id. From

   1998 to 2010, Hall sailed as a chief mate and senior deck training officer. Also, since

   1998, Hall has taught at the United States Merchant Marine Academy, including

   Maritime Professional Studies, Safety of Life at Sea, Integrated Navigation, Navigation

   Law – Rules of the Road, and United States Coast Guard license courses. Additionally,

   he is a contributing editor and author of respected maritime publications, including

   DUTTON’S Nautical Navigation 15th Edition and American Merchant Seaman’s Manual

   7th Edition. Hall’s extensive maritime education, knowledge, experience, and training

   clearly qualify him to offer expert testimony regarding the aids to navigation at issue and

   the cause of the allision. As such, Barnett’s challenge to Hall’s qualifications does not

   meet the high bar for exclusion. Barnett instead may cross-examine Hall to highlight any

   perceived weaknesses in his experience and qualifications.

          B. Knowledge of the Facts

          Barnett next argues that the court should exclude Hall’s expert testimony because

   he has insufficient knowledge of the facts of the allision that resulted in the decedent’s

   death. Barnett complains that Hall did not consider documents tending to show that the

   flash rhythm and color of certain navigation aids around the dike at the time of the

   allision created confusion to boaters and that the United States Coast Guard changed the

   rhythm of those lights after the allision. See ECF No. 61-7. She also complains that Hall

   did not consider evidence, including certain witness interviews, indicating that some of

   the navigation lights at issue were not well lit at the time of the allision. For these

   reasons, Barnett claims that Hall’s opinions are “unreliable.” ECF No. 61 at 7. The court

   again disagrees.



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          Federal Rule of Evidence 702 requires, among other things, that an expert

   witness’s testimony be “based on sufficient facts or data” and that the expert have

   “applied the principles and methods reliably to the facts of the case.” Fed. R. Evid. 702.

   “An expert’s opinion should be excluded when it is based on assumptions which are

   speculative and are not supported by the record.” Tyger Constr. Co. v. Pensacola Constr.

   Co., 29 F.3d 137, 142 (4th Cir. 1994); Sparks v. Gilley Trucking Co., 992 F.2d 50, 54

   (4th Cir. 1993) (“[A] court may refuse to allow a generally qualified expert to testify if

   his factual assumptions are not supported by the evidence.”) (citing Eastern Auto Distrib.,

   Inc. v. Peugeot Motors of Am., Inc., 795 F.2d 392, 337–38 (4th Cir.1986) (holding that

   the district court did not abuse its discretion when it excluded the testimony of an expert

   witness whose opinion was based on two assumptions that were speculative and not

   supported by the record)).

          In his expert report, Hall enumerates twenty pieces of evidence that he considered

   in rendering his opinion, including, inter alia, depositions, witness statements, the

   relevant weather forecast and tide tables, email communications regarding the navigation

   aids at issue, incident and investigative reports for the allision, photographs of the

   decedent’s vessel, and the complaint. Hall’s alleged failure to consider certain evidence

   tending to show that some navigation aids were not visible or were confusing to boaters

   does not render his opinions speculative or unsupported by the record. An expert witness

   need not eliminate all possible causes of an injury when giving his expert opinion. See,

   e.g., Heller v. Shaw Indus., Inc., 167 F.3d 146, 156 (3d Cir. 1999) (“To require the

   experts to rule out categorically all other possible causes for an injury would mean that

   few experts would ever be able to testify.”). The answer to the critical question of the



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   cause of the allision will depend on which set of predicate facts the fact-finder believes:

   (1) the government’s contention that the navigation aids were lit and functioning in a

   proper manner but the decedent operated the vessel in an unsafe manner; or (2) Barnett’s

   contention that the decedent operated the vessel in a safe manner but the aids were poorly

   lit and confusing. The advisory committee notes to Rule 702 speak to the precise issue

   before the court:

          When facts are in dispute, experts sometimes reach different conclusions
          based on competing versions of the facts. The emphasis in the amendment
          on “sufficient facts or data” is not intended to authorize a trial court to
          exclude an expert’s testimony on the ground that the court believes one
          version of the facts and not the other.

   Fed. R. Civ. P. 702 advisory committee’s note to 2000 amendment. The condition and

   effectiveness of the navigation aids at the time of the allision is a question of fact for the

   factfinder. Hall may permissibly render an opinion on the cause of the allision under the

   assumption that the aids were properly functioning and effective—even if he did not

   consider all the evidence to the contrary. The evidence that Hall did not consider or

   rejected goes more to the weight of Hall’s testimony than its admissibility. Again, Rule

   702’s guiding policy favors the admission of expert testimony and “the trial court’s role

   as a gatekeeper is not intended to serve as a replacement for the adversary system.”

   Stanley, 533 F. App’x at 327. Importantly, admission of Hall’s expert testimony does

   negate Barnett’s opportunity to attack Hall’s opinions. Her opportunity will come before

   the trier of fact through “[v]igorous cross-examination, [and] presentation of contrary

   evidence.” Daubert, 509 U.S. at 596. This principle is particularly true when the court

   acts as fact-finder. “[T]he gatekeeping function of the court is relaxed where

   a bench trial is to be conducted, as in this case, because the court is better equipped than a



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   jury to weigh the probative value of expert evidence.” Bishop of Charleston v. Century

   Indem. Co., 225 F. Supp. 3d 554, 567 (D.S.C. 2016) (internal citation omitted). “The

   ‘gatekeeper’ doctrine was designed to protect juries and is largely irrelevant in the

   context of a bench trial because there is less need for the gatekeeper to keep the gate

   when the gatekeeper is keeping the gate only for himself.” Id. (internal quotations and

   citations omitted). As such, the court finds that Hall’s expert testimony is “based on

   sufficient facts or data” and that he “applied [his] principles and methods reliably to the

   facts of the case.” Fed. R. Evid. 702.

                                      IV. CONCLUSION

          For the reasons set forth above, the court DENIES the motion to exclude.

          AND IT IS SO ORDERED.




                                            DAVID C. NORTON
                                            UNITED STATES DISTRICT JUDGE

   October 28, 2021
   Charleston, South Carolina




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